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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                           Case No. 8:15-cr-175-T-30AAS

   LENIN V. PEREZ



                          FORFEITURE MONEY JUDGMENT

         THIS CAUSE comes before the Court upon the United States of America's

   Motion for a Forfeiture Money Judgment (Doc. 141) against the defendant in the

   amount of $2,122,543.40.

         Being fully advised of the relevant facts, the Court hereby finds that at least

   $2,122,543.40 in proceeds was obtained from the conspiracy to solicit, receive, or

   pay illegal remunerations, conspiracy to commit health care fraud, and receipt of

   an illegal remuneration, to which the defendant pled guilty.

         Accordingly, it is hereby:

         ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States= motion (Doc. 141) is GRANTED.

         It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 982(a)(7) and Rule

   32.2(b)(2) of the Federal Rules of Criminal Procedure, the defendant shall be held

   jointly and severally liable with co-defendant Lois Luis and any other convicted co-

   conspirators for a forfeiture money judgment in the amount of $2,122,543.40.
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            It is FURTHER ORDERED that this order shall become a final order of

   forfeiture as to the defendant at the time it is entered.

            The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, to enter any further order necessary for the

   forfeiture and disposition of such property, and to order any substitute assets

   forfeited to the United States up to the amount of the forfeiture money judgment.

            DONE and ORDERED in Tampa, Florida, this 19th day of July, 2016.




   Copies furnished to:
   Counsel/Parties of Record
   S:\Odd\2015\15-cr-175 forfeit 141 Lenin Perez.docx




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